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                                    IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MINNESOTA

Michael J. Lindell,                                           )                  COURT MINUTES - CIVIL
                                                              )                   BEFORE: Patrick J. Schiltz
                                           Plaintiff,         )                      U.S. District Judge
                                                              )
             v.                                               )    Case No:               21-CV-1332 (PJS/DTS)
                                                              )    Date:                  August 20, 2021
US Dominion, Inc., et al.,                                    )    Court Reporter:        Debra Beauvais
                                                              )    Courthouse:            Video Conference
                                           Defendants.        )    Courtroom:             Video Conference
                                                              )    Time Commenced:        10:03 a.m.
                                                                   Time Concluded:        10:18 a.m.
                                                                   Sealed Hearing Time:
                                                                   Time in Court:         Hours & 15 Minutes
Hearing on: Status                  Conference
APPEARANCES:
             Plaintiff:              Douglas A. Daniels, Heath Novosad
             Defendants:             John Ursu, Laranda Walker, Stephen Shackelford, Jr., Christopher Larus, Martin Sinclair

PROCEEDINGS:
      : Status conference held.

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                                                                                                                  s/C. Glover
                                                                                                             Courtroom Deputy




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